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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

CAUSE OF ACTION INSTITUTE,                      )
                                                )
            Plaintiff,                          )
                                                )
      v.                                        )         No. 1:19-cv-778-CJN
                                                )
UNITED STATES                                   )
DEPARTMENT OF COMMERCE                          )
                                                )
            Defendant.                          )
________________________________________________)

                              [PROPOSED] ORDER

      Upon consideration of the parties’ motions, and the entire record herein, it is

hereby OREDERED that Defendant’s motion for summary judgment is DENIED and

Plaintiff’s cross-motion for summary judgment is GRANTED.             Defendant is

ORDERED to release the Section 232 Auto Tariffs Report, as described in the parties

motions, to Plaintiff within 20 days of this Order.

      SO ORDERED.


Dated: September ____, 2019             _______________________________
                                        The Honorable Carl J. Nichols
                                        United States District Judge
